                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 CHRISTIAN MIRANDA,
                                                    Case No. 16-cv-05602-VC
                Plaintiff,

         v.                                         ORDER OF DISMISSAL

 CITIBANK, N.A.,
                Defendant.




       The Court has been advised by the Notice of Settlement filed on February 6, 2017 that

the parties have resolved this case. (Re: Dkt. No. 14). Therefore, it is ORDERED that this case

is DISMISSED without prejudice. All deadlines and hearings in the case are vacated. Any

pending motions are moot.

       The parties retain the right to reopen this action within 60 days of this Order if the

settlement is not consummated. If a request to reinstate the case is not filed and served on
opposing counsel within 60 days, the dismissal will be with prejudice.

       IT IS SO ORDERED.

Dated: February 7, 2017
                                                 ______________________________________
                                                 VINCE CHHABRIA
                                                 United States District Judge
